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The following constitutes the ruling of the court and has the force and effect therein described.



Signed November 23, 2020                                                 United States Bankruptcy Judge
______________________________________________________________________




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

     In re:                                                     §    Chapter 11
                                                                §
     Tuesday Morning Corporation, et al.,1                      §    Case No. 20-31476
                                                                §
     Debtors.                                                   §    Jointly Administered


              ORDER GRANTING DEBTORS’ MOTION UNDER BANKRUPTCY CODE
                § 1121(d) FOR EXTENSION OF DEBTORS’ EXCLUSIVITY PERIOD
              TO FILE A PLAN AND SOLICIT VOTES IN CONNECTION THEREWITH

              The Court has considered the Debtors’ Motion Under Bankruptcy Code § 1121(d) for

     Extension of Debtors’ Exclusivity Period to File a Plan and Solicit Votes in Connection Therewith




     1
       The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, include: Tuesday Morning Corporation (8532) (“TM Corp.”); TMI Holdings, Inc. (6658) (“TMI Holdings”);
     Tuesday Morning, Inc. (2994) (“TMI”); Friday Morning, LLC (3440) (“FM LLC”); Days of the Week, Inc. (4231)
     (“DOTW”); Nights of the Week, Inc. (7141) (“NOTW”); and Tuesday Morning Partners, Ltd. (4232) (“TMP”). The
     location of the Debtors’ service address is 6250 LBJ Freeway, Dallas, TX 75240.


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(the “Motion”),2 filed by Tuesday Morning Corporation, et al. (collectively, the “Debtors”); and

the Court having jurisdiction to consider the Motion and the relief requested therein pursuant to

28 U.S.C. §§ 157 and 1334, and the Order of Reference of Bankruptcy Cases and Proceedings

Nunc Pro Tunc, Miscellaneous Rule No. 33 (N.D. Tex. Aug. 3, 1984); and consideration of the

Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and it

appearing that venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due

and proper notice of the Motion having been provided, and it appearing that no other or further

notice need be provided; and the Court having reviewed the Motion; and the Court having held a

hearing on the Motion; and all objections, if any, to the Motion have been withdrawn, resolved, or

overruled; and the Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and upon all of the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

           IT IS HEREBY ORDERED THAT:

           1.       The Motion is GRANTED as set forth herein.

           2.       Pursuant to Bankruptcy Code § 1121(d), the Exclusivity Period for the Debtors to

file a Chapter 11 plan and solicit acceptances is hereby extended for sixty (60) days to and

including January 22, 2020, without prejudice to the Debtors’ right to seek additional and further

extensions of this period.




2
    Capitalized terms not otherwise defined in this Order shall have the meanings ascribed to such terms in the Motion.


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         3.      If the Debtors’ plan of reorganization filed at Docket No. 1633 (as may be

amended) (the “Plan”) is not confirmed at the confirmation hearing currently scheduled for

December 22, 2020, the Debtors will not object to a motion for expedited relief that the Official

Committee of Unsecured Creditors or the Official Committee of Equity Security Holders may file

in connection with a motion to terminate or modify the Debtors’ exclusive rights to file a plan.

         4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                                  # # # END OF ORDER # # #

Submitted by:

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ATTORNEYS FOR DEBTORS




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